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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,                                Case No.: 15-CR-20717
                                                          HONORABLE PAUL D. BORMAN
 Plaintiff,
 v.
 ERNEST ADAM CSOLKOVITS,


 Defendant.

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         GOVERNMENT'S OPPOSITION TO DEFENDANT'S MOTION
           FOR REVOCATION OF DETENTION ORDER (Doc. #19)

        The United States of America opposes defendant Ernest Adam Csolkovits' s

Motion for Revocation of Detention Order (Doc. # 19).

        On November 24th, 2015, United States Magistrate Judge David R. Grand

entered an Order of Detention Pending Trial (Doc #13, EXHIBIT 1).                                       Magistrate

Grand agreed with both the United States and Pretrial Services that "no condition

or combination of conditions could reasonably assure the community's safety if

Csolkovits were to be released on bond." 1 Id. at 9. The government believes that

defendant represents an economic danger to the community if at large, and asks

that the Court reject defendant's motion to revoke Magistrate Judge Grand's order.


1 The United States also argued that defendant should be detained as a flight risk.   Magistrate Judge Grand ruled
against the government on this argument, and the United States does not appeal.
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                                         FACTS

      Pending Charges

      Defendant was indicted on November 10, 2015 on two counts of wire fraud

(18 U.S.C. § 1343) and one count of money laundering (18 U.S.C. § 1957). (Doc

# 1; EXHIBIT 2). The indictment alleges that defendant defrauded a victim of over

one-million dollars in connection with a scheme concerning various nutritional

products. Of particular relevance to detention is the timing of this scheme.

      Csolkovits planned, orchestrated, and executed this fraudulent scheme

between his conviction and sentencing for impeding the administration of the IRS

laws in violation of26 U.S.C. § 7212(a) and submitting false documents to the IRS

in violation of 18 U.S.C. § 1001. These charges were connected to another fraud

engaged in by defendant; that fraud involving a marketing scheme similar to the

underlying conduct in the instant case.           See United States Sentencing

Memorandum and exhibits filed in 2:08-cr-20474 (EXHIBITS 3 and 4).

      The original indictment in that earlier case also included charges directly

related to that fraudulent marketing scheme. Id. Defendant did not plead guilty to

those charges of the indictment, but did agree to pay over one-million dollars in

restitution to the victims ofthat scheme. See EXHIBIT 3 at 9-10.




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      Defendant's History of Fraud

      Defendant's long history of fraud-dating from the late 1980's-is outlined

in the sentencing memorandum submitted in his prior case. See EXHIBIT 3 at 11-

16. Defendant has duped investors through marketing everything from rat poison

to milk shakes. Id. He has also profited through fraudulent schemes involving food

banks and self-help cassette tapes. Id.

      The most concise description of defendant's behavior and character can be

found in a reasoned decision of independent arbitrator Bryan H. Levy connected to

a civil action; that decision was submitted as part of sentencing in the prior case.

EXHIBIT 4. In ruling against Csolkovits, the arbitrator identified wrongdoing

"breathtaking both in breadth and depth" and stated that a "full understanding of its

nature can only be found in literature." Id. He compared Csolkovits to the villain

Milo Minderbinder from Joseph Heller's Catch-22, stating that "[t]his reference is

neither intended as flippancy nor disrespect toward any party. It is intended to call

attention to fraud so pervasive and complete that any other reference fails to

represent its evil. Respondents' actions ethically rival those of Milo in a material

sense." Id. ·The arbitrator's conclusion began "Those Claimants who testified

were duped. They never had a chance against a con which, while not at all novel,

was impressively sophisticated. Csolkovits took advantage of simple people who

invested money they should not have risked." Id.


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                                                    ARGUMENT

        Defendant cannot be trusted as member of the community pending trial. His

detention is necessitated by the brazen timing of the charges alleged in the

indictment. In the short span between his prior guilty plea and sentencing,

defendant orchestrated a scheme to defraud that netted over one-million dollars.

The timing demonstrates that defendant is completely amoral and has no remorse

for his prior conduct. The speed and scope shows both his skills and his dedication

to fraudulent activity.

        An aggravating factor is that defendant engaged in this fraud while on bond

pending resolution of his prior case, and thus violated the terms of that bond. See

EXHIBIT 5. He has therefore proved himself incapable of complying with prior

court-imposed conditions of release, which further weighs in favor of detention.

        Defendant's actions while under prior judicial supervision, combined his

long history of fraud, lead to the conclusion that no condition or combination of

conditions can secure the economic safety of the community should he be released

pending trial? Defendant has defrauded investors in a variety of schemes for over



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 Phone calls made by the defendant during his prior imprisonment are also instructive. While not proffered as part
of the government's initial argument at defendant's detention hearing, these calls were discussed in response to
questioning by Magistrate Judge Garand on whether conditions short of detention could guarantee the safety of the
community. While not essential to the government's case, the calls are, however, germane. During seventeen calls
between defendant and family members between January 11th and January 27th of20 14, Csolkovits repeatedly tells
his son, Arden, that he is not to conduct business in prison. Yet, under the pretext of "advising" Arden, he goes on
conducts business extensively-including business connected to the instant indictment. A disc containing audio files
of the relevant calls is EXHIBIT 6 to this memorandum, and will be attached to the courtesy copy of this
memorandum delivered to chambers. Defendant has already been provided with the audio files of these calls.

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a quarter-of-a-century.   He has done so on bond.         He has done so pending

sentencing. He has done so from prison. Detention is the sole option to minimize

the chances that he will defraud further victims pending resolution of this case.

      As Magistrate Judge Garand recognized, detention as an economic danger to

the community is a rarity.     EXHIBIT 1 at 6.        Nonetheless, consideration of

economic danger to the community is appropriate in extreme cases in which a

defendant's propensity to defraud is severe and pernicious.        See, e.g., U.S. v.

Madoff, 316 Fed. App'x 58, 59-60 (2d Cir. 2009); U.S. v. Reynolds, 956 F.2d 192,

192-93 (9th Cir. 1992); U.S. v. Possino, et al. 2013 WL 1415108 at *7 (C.D. CA

April 8, 2013) ("Mendiratta argues that economic danger to the community cannot

be a basis for pretrial detention under the Bail Reform Act as a matter of law. The

Court rejects this argument."); U.S. v. Harris, 920 F.Supp. 132 (D. Nev. 1996);

U.S. v. Rechnitzer, 2007 WL 676671 (N.D. NY Jan. 29, 1992) at n.2 ("Danger

under the Bail Reform Act includes economic danger."); U.S. v. Barth, 1996 WL

684389 (D. Conn May 22, 1996). This is such an extreme case. Defendant must

be detained pending trial to protect members of the community from his never-

ending fraudulent scheming.




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                               CONCLUSION

      For the reasons outlined above, the Court should deny Csolkovits's Motion

for Revocation of Detention Order. The Government recommends that the Court

also maintain the conditions imposed by the magistrate, and further add the

condition that defendant should not communicate with family members concerning

business of any kind.


                                           Respectfully submitted,

                                           BARBARAL.McQUADE
                                           United States Attorney


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January 4, 2016




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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 4, 2016, I electronically filed the foregoing
 documents being the Government's Opposition to Defendant's Motion for
 Revocation of Detention Order (Doc. #19) with the Clerk of the Court using the
·ECF system which will send notification of such filing to the following:

       Harold Z. Gurewitz     - Attorney for Defendant

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